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EXHIBIT 5
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SUBJECT:

References: (a)

(b)

(c)
(d)

(e)
(f)

1. PURPOSE

Department of Defense

Military Commission Order No. 1

March 21, 2002

Procedures for Trials by Military Commissions of Certain Non-United
States Citizens in the War Against Terrorism

United States Constitution, Article I, section 2

Military Order of November 13, 2001, "Detention, Treatment, and Trial of
Certain Non-Citizens in the War Against Terrorism," 66 F.R. 57833 (Nov.
16, 2001) ("President's Military Order")

DoD 5200.2-R, "Personnel Security Program," current edition

Executive Order 12958, "Classified National Security Information" (April
17, 1995, as amended, or any successor Executive Order)

Section 603 of title 10, United States Code
DoD Directive 5025.1, "DoD Directives System," current edition

This Order implements policy, assigns responsibilities, and prescribes procedures under
references (a) and (b) for trials before military commissions of individuals subject to the
President's Military Order. These procedures shall be implemented and construed so as to
ensure that any such individual receives a full and fair trial before a military commission, as
required by the President's Military Order. Unless otherwise directed by the Secretary of
Defense, and except for supplemental procedures established pursuant to the President's Military
Order or this Order, the procedures prescribed herein and no others shall govern such trials.

2. ESTABLISHMENT OF MILITARY COMMISSIONS

In accordance with the President's Military Order, the Secretary of Defense or a designee
("Appointing Authority") may issue orders from time to time appointing one or more military

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commissions to try individuals subject to the President's Military Order and appointing any other
personnel necessary to facilitate such trials.

3. JURISDICTION
A. Over Persons

A military commission appointed under this Order ("Commission") shall have jurisdiction over
only an individual or individuals ("the Accused") (1) subject to the President's Military Order
and (2) alleged to have committed an offense in a charge that has been referred to the
Commission by the Appointing Authority.

B. Over Offenses

Commissions established hereunder shall have jurisdiction over violations of the laws of war and
all other offenses triable by military commission.

C. Maintaining Integrity of Commission Proceedings

The Commission may exercise jurisdiction over participants in its proceedings as necessary to
preserve the integrity and order of the proceedings.

4, COMMISSION PERSONNEL

A. Members
(1) Appointment

The Appointing Authority shall appoint the members and the alternate member or members of
each Commission. The alternate member or members shall attend all sessions of the
Commission, but the absence of an alternate member shall not preclude the Commission from
conducting proceedings. In case of incapacity, resignation, or removal of any member, an
alternate member shall take the place of that member. Any vacancy among the members or
alternate members occurring after a trial has begun may be filled by the Appointing Authority,
but the substance of all prior proceedings and evidence taken in that case shall be made known to
that new member or alternate member before the trial proceeds.

(2) Number of Members

Each Commission shall consist of at least three but no more than seven members, the number

being determined by the Appointing Authority. For each such Commission, there shall also be
one or two alternate members, the number being determined by the Appointing Authority.

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(3) Qualifications

Each member and alternate member shall be a commissioned officer of the United States armed
forces (" Military Officer"), including without limitation reserve personnel on active duty,
National Guard personnel on active duty in Federal service, and retired personnel recalled to
active duty. The Appointing Authority shall appoint members and alternate members
determined to be competent to perform the duties involved. The Appointing Authority may
remove members and alternate members for good cause.

(4) Presiding Officer

From among the members of each Commission, the Appointing Authority shall designate a
Presiding Officer to preside over the proceedings of that Commission. The Presiding Officer
shall be a Military Officer who is a judge advocate of any United States armed force.

(5) Duties of the Presiding Officer

(a) The Presiding Officer shall admit or exclude evidence at trial in
accordance with Section 6(D). The Presiding Officer shall have authority to close

proceedings or portions of proceedings in accordance with Section 6(B)(3) and
for any other reason necessary for the conduct of a full and fair trial.

(b) The Presiding Officer shall ensure that the discipline, dignity, and
decorum of the proceedings are maintained, shall exercise control over the
proceedings to ensure proper implementation of the President's Military Order
and this Order, and shall have authority to act upon any contempt or breach of
Commission rules and procedures. Any attorney authorized to appear before a
Commission who is thereafter found not to satisfy the requirements for eligibility
or who fails to comply with laws, rules, regulations, or other orders applicable to
the Commission proceedings or any other individual who violates such laws,
rules, regulations, or orders may be disciplined as the Presiding Officer deems
appropriate, including but not limited to revocation of eligibility to appear before
that Commission. The Appointing Authority may further revoke that attorney's
or any other person's eligibility to appear before any other Commission convened
under this Order.

(c) The Presiding Officer shall ensure the expeditious conduct of the trial.
In no circumstance shall accommodation of counsel be allowed to delay
proceedings unreasonably.

(d) The Presiding Officer shall certify all interlocutory questions, the
disposition of which would effect a termination of proceedings with respect to a
charge, for decision by the Appointing Authority. The Presiding Officer may
certify other interlocutory questions to the Appointing Authority as the Presiding
Officer deems appropriate.

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B. Prosecution
(1) Office of the Chief Prosecutor

The Chief Prosecutor shall be a judge advocate of any United States armed force, shall supervise
the overall prosecution efforts under the President's Military Order, and shall ensure proper
management of personnel and resources.

(2) Prosecutors and Assistant Prosecutors

Consistent with any supplementary regulations or instructions issued under Section 7(A), the
Chief Prosecutor shall detail a Prosecutor and, as appropriate, one or more Assistant Prosecutors
to prepare charges and conduct the prosecution for each case before a Commission
("Prosecution"). Prosecutors and Assistant Prosecutors shall be (a) Military Officers who are
judge advocates of any United States armed force, or (b) special trial counsel of the Department
of Justice who may be made available by the Attorney General of the United States. The duties
of the Prosecution are:

(a) To prepare charges for approval and referral by the Appointing
Authority;

(b) To conduct the prosecution before the Commission of all cases
referred for trial; and

(c) To represent the interests of the Prosecution in any review process.
C. Defense
(1) Office of the Chief Defense Counsel

The Chief Defense Counsel shall be a judge advocate of any United States armed force, shall
supervise the overall defense efforts under the President's Military Order, shall ensure proper
management of personnel and resources, shall preclude conflicts of interest, and shall facilitate
proper representation of all Accused.

(2) Detailed Defense Counsel.

Consistent with any supplementary regulations or instructions issued under Section 7(A), the
Chief Defense Counsel shall detail one or more Military Officers who are judge advocates of any
United States armed force to conduct the defense for each case before a Commission ("Detailed
Defense Counsel"). The duties of the Detailed Defense Counsel are:

(a) To defend the Accused zealously within the bounds of the law without
regard to personal opinion as to the guilt of the Accused; and

(b) To represent the interests of the Accused in any review process as
provided by this Order.

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(3) Choice of Counsel

(a) The Accused may select a Military Officer who is a judge advocate of
any United States armed force to replace the Accused's Detailed Defense
Counsel, provided that Military Officer has been determined to be
available in accordance with any applicable supplementary regulations or
instructions issued under Section 7(A). After such selection of a new
Detailed Defense Counsel, the original Detailed Defense Counsel will be
relieved of all duties with respect to that case. If requested by the
Accused, however, the Appointing Authority may allow the original
Detailed Defense Counsel to continue to assist in representation of the
Accused as another Detailed Defense Counsel.

(b) The Accused may also retain the services of a civilian attorney of the
Accused's own choosing and at no expense to the United States
Government ("Civilian Defense Counsel"), provided that attorney: (i) is a
United States citizen; (ii) is admitted to the practice of law in a State,
district, territory, or possession of the United States, or before a Federal
court; (iii) has not been the subject of any sanction or disciplinary action
by any court, bar, or other competent governmental authority for relevant
misconduct; (iv) has been determined to be eligible for access to
information classified at the level SECRET or higher under the authority
of and in accordance with the procedures prescribed in reference (c); and
(v) has signed a written agreement to comply with all applicable
regulations or instructions for counsel, including any rules of court for
conduct during the course of proceedings. Civilian attorneys may be pre-
qualified as members of the pool of available attorneys if, at the time of
application, they meet the relevant criteria, or they may be qualified on an
ad hoc basis after being requested by an Accused. Representation by
Civilian Defense Counsel will not relieve Detailed Defense Counsel of the
duties specified in Section 4(C)(2). The qualification of a Civilian
Defense Counsel does not guarantee that person's presence at closed
Commission proceedings or that person's access to any information
protected under Section 6(D)(5).

(4) Continuity of Representation

The Accused must be represented at all relevant times by Detailed Defense Counsel. Detailed
Defense Counsel and Civilian Defense Counsel shall be herein referred to collectively as
"Defense Counsel." The Accused and Defense Counsel shall be herein referred to collectively as

"the Defense."

D. Other Personnel

Other personnel, such as court reporters, interpreters, security personnel, bailiffs, and clerks may
be detailed or employed by the Appointing Authority, as necessary.

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5. PROCEDURES ACCORDED THE ACCUSED
The following procedures shall apply with respect to the Accused:

A. The Prosecution shall furnish to the Accused, sufficiently in advance of trial to
prepare a defense, a copy of the charges in English and, if appropriate, in another
language that the Accused understands.

B. The Accused shall be presumed innocent until proven guilty.

C. A Commission member shall vote for a finding of Guilty as to an offense if and only
if that member is convinced beyond a reasonable doubt, based on the evidence admitted
at trial, that the Accused is guilty of the offense.

D. Atleast one Detailed Defense Counsel shall be made available to the Accused
sufficiently in advance of trial to prepare a defense and until any findings and sentence
become final in accordance with Section 6(H)(2).

E. The Prosecution shall provide the Defense with access to evidence the Prosecution
intends to introduce at trial] and with access to evidence known to the Prosecution that
tends to exculpate the Accused. Such access shall be consistent with Section 6(D)(5) and
subject to Section 9.

F. The Accused shall not be required to testify during trial. A Commission shall draw
no adverse inference from an Accused's decision not to testify. This subsection shall not
preclude admission of evidence of prior statements or conduct of the Accused.

G. If the Accused so elects, the Accused may testify at trial on the Accused's own behalf
and shall then be subject to cross-examination.

H. The Accused may obtain witnesses and documents for the Accused's defense, to the
extent necessary and reasonably available as determined by the Presiding Officer. Such
access shall be consistent with the requirements of Section 6(D)(5) and subject to Section
9. The Appointing Authority shall order that such investigative or other resources be
made available to the Defense as the Appointing Authority deems necessary for a full and
fair trial.

I. The Accused may have Defense Counsel present evidence at trial in the Accused's
defense and cross-examine each witness presented by the Prosecution who appears before
the Commission.

J. The Prosecution shall ensure that the substance of the charges, the proceedings, and
any documentary evidence are provided in English and, if appropriate, in another
language that the Accused understands. The Appointing Authority may appoint one or
more interpreters to assist the Defense, as necessary.

K. The Accused may be present at every stage of the trial before the Commission,
consistent with Section 6(B)(3), unless the Accused engages in disruptive conduct that

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justifies exclusion by the Presiding Officer. Detailed Defense Counsel may not be
excluded from any trial proceeding or portion thereof.

L. Except by order of the Commission for good cause shown, the Prosecution shall
provide the Defense with access before sentencing proceedings to evidence the
Prosecution intends to present in such proceedings. Such access shall be consistent with
Section 6(D)(5) and subject to Section 9.

M. The Accused may make a statement during sentencing proceedings.

N. The Accused may have Defense Counsel submit evidence to the Commission during
sentencing proceedings.

O. The Accused shall be afforded a trial open to the public (except proceedings closed
by the Presiding Officer), consistent with Section 6(B).

P. The Accused shall not again be tried by any Commission for a charge once a
Commission's finding on that charge becomes final in accordance with Section 6(H)(2).

6. CONDUCT OF THE TRIAL
A. Pretrial Procedures
(1) Preparation of the Charges

The Prosecution shall prepare charges for approval by the Appointing Authority, as provided in
Section 4(B)(2)(a).

(2) Referral to the Commission

The Appointing Authority may approve and refer for trial any charge against an individual or
individuals within the jurisdiction of a Commission in accordance with Section 3(A) and alleging
an offense within the jurisdiction of a Commission in accordance with Section 3(B).

(3) Notification of the Accused

The Prosecution shall provide copies of the charges approved by the Appointing Authority to the
Accused and Defense Counsel. The Prosecution also shall submit the charges approved by the
Appointing Authority to the Presiding Officer of the Commission to which they were referred.

(4) Plea Agreements

The Accused, through Defense Counsel, and the Prosecution may submit for approval to the
Appointing Authority a plea agreement mandating a sentence limitation or any other provision in
exchange for an agreement to plead guilty, or any other consideration. Any agreement to plead
guilty must include a written stipulation of fact, signed by the Accused, that confirms the guilt of

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the Accused and the voluntary and informed nature of the plea of guilty. If the Appointing
Authority approves the plea agreement, the Commission will, after determining the voluntary
and informed nature of the plea agreement, admit the plea agreement and stipulation into
evidence and be bound to adjudge findings and a sentence pursuant to that plea agreement.

(5) Issuance and Service of Process; Obtaining Evidence

The Commission shall have power to:

(a) Summon witnesses to attend trial and testify;

(b) Administer oaths or affirmations to witnesses and other persons and to
question witnesses;

(c) Require the production of documents and other evidentiary material;
and

(d) Designate special commissioners to take evidence.

The Presiding Officer shall exercise these powers on behalf of the Commission at the Presiding
Officer's own initiative, or at the request of the Prosecution or the Defense, as necessary to
ensure a full and fair trial in accordance with the President's Military Order and this Order. The
Commission shall issue its process in the name of the Department of Defense over the signature
of the Presiding Officer. Such process shall be served as directed by the Presiding Officer in a
manner calculated to give reasonable notice to persons required to take action in accordance with
that process.

B. Duties of the Commission During Trial
The Commission shall:
(1) Provide a full and fair trial.

(2) Proceed impartially and expeditiously, strictly confining the proceedings to a
full and fair trial of the charges, excluding irrelevant evidence, and preventing any
unnecessary interference or delay.

(3) Hold open proceedings except where otherwise decided by the Appointing
Authority or the Presiding Officer in accordance with the President's Military
Order and this Order. Grounds for closure include the protection of information
classified or classifiable under reference (d); information protected by law or rule
from unauthorized disclosure; the physical safety of participants in Commission
proceedings, including prospective witnesses; intelligence and law enforcement
sources, methods, or activities; and other national security interests. The
Presiding Officer may decide to close all or part of a proceeding on the Presiding
Officer's own initiative or based upon a presentation, including an ex parte, in
camera presentation by either the Prosecution or the Defense. A decision to close
a proceeding or portion thereof may include a decision to exclude the Accused,
Civilian Defense Counsel, or any other person, but Detailed Defense Counsel may
not be excluded from any trial proceeding or portion thereof. Except with the
prior authorization of the Presiding Officer and subject to Section 9, Defense

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Counsel may not disclose any information presented during a closed session to
individuals excluded from such proceeding or part thereof. Open proceedings
may include, at the discretion of the Appointing Authority, attendance by the
public and accredited press, and public release of transcripts at the appropriate
time. Proceedings should be open to the maximum extent practicable.
Photography, video, or audio broadcasting, or recording of or at Commission
proceedings shall be prohibited, except photography, video, and audio recording
by the Commission pursuant to the direction of the Presiding Officer as necessary
for preservation of the record of trial.

(4) Hold each session at such time and place as may be directed by the
Appointing Authority. Members of the Commission may meet in closed
conference at any time.

(5) As soon as practicable at the conclusion of a trial, transmit an authenticated
copy of the record of trial to the Appointing Authority.

C. Oaths

(1) Members of a Commission, all Prosecutors, all Defense Counsel, all court
reporters, all security personnel, and all interpreters shall take an oath to perform
their duties faithfully.

(2) Each witness appearing before a Commission shall be examined under oath,
as provided in Section 6(D)(2)(b).

(3) An oath includes an affirmation. Any formulation that appeals to the
conscience of the person to whom the oath is administered and that binds that
person to speak the truth, or, in the case of one other than a witness, properly to
perform certain duties, is sufficient.

D. Evidence
(1) Admissibility

Evidence shall be admitted if, in the opinion of the Presiding Officer (or instead, if any other
member of the Commission so requests at the time the Presiding Officer renders that opinion, the
opinion of the Commission rendered at that time by a majority of the Commission), the evidence
would have probative value to a reasonable person.

(2) Witnesses

(a) Production of Witnesses
The Prosecution or the Defense may request that the Commission hear the testimony of any
person, and such testimony shall be received if found to be admissible and not cumulative. The

Commission may also summon and hear witnesses on its own initiative. The Commission may
permit the testimony of witnesses by telephone, audiovisual means, or other means; however, the

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Commission shall consider the ability to test the veracity of that testimony in evaluating the
weight to be given to the testimony of the witness.

(b) Testimony

Testimony of witnesses shall be given under oath or affirmation. The Commission may still hear
a witness who refuses to swear an oath or make a solemn undertaking; however, the Commission
shall consider the refusal to swear an oath or give an affirmation in evaluating the weight to be
given to the testimony of the witness.

(c) Examination of Witnesses

A witness who testifies before the Commission is subject to both direct examination and cross-
examination. The Presiding Officer shall maintain order in the proceedings and shall not permit
badgering of witnesses or questions that are not material to the issues before the Commission.
Members of the Commission may question witnesses at any time.

(d) Protection of Witnesses

The Presiding Officer shall consider the safety of witnesses and others, as well as the
safeguarding of Protected Information as defined in Section 6(D)(5)(a), in determining the
appropriate methods of receiving testimony and evidence. The Presiding Officer may hear any
presentation by the Prosecution or the Defense, including an ex parte, in camera presentation,
regarding the safety of potential witnesses before determining the ways in which witnesses and
evidence will be protected. The Presiding Officer may authorize any methods appropriate for the
protection of witnesses and evidence. Such methods may include, but are not limited to:
testimony by telephone, audiovisual means, or other electronic means; closure of the

proceedings; introduction of prepared declassified summaries of evidence; and the use of
pseudonyms.

(3) Other Evidence

Subject to the requirements of Section 6(D)(1) concerning admissibility, the Commission may
consider any other evidence including, but not limited to, testimony from prior trials and

proceedings, sworn or unsworn written statements, physical evidence, or scientific or other
reports.

(4) Notice

The Commission may, after affording the Prosecution and the Defense an opportunity to be
heard, take conclusive notice of facts that are not subject to reasonable dispute either because
they are generally known or are capable of determination by resort to sources that cannot
reasonably be contested.

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(5) Protection of Information
(a) Protective Order

The Presiding Officer may issue protective orders as necessary to carry out the Military Order
and this Order, including to safeguard "Protected Information," which includes: (i) information
classified or classifiable pursuant to reference (d); (ii) information protected by law or rule from
unauthorized disclosure; (iii) information the disclosure of which may endanger the physical
safety of participants in Commission proceedings, including prospective witnesses; (iv)
information concerning intelligence and law enforcement sources, methods, or activities; or (v)
information concerning other national security interests. As soon as practicable, counsel for
either side will notify the Presiding Officer of any intent to offer evidence involving Protected
Information.

(b) Limited Disclosure

The Presiding Officer, upon motion of the Prosecution or sua sponte, shall, as necessary to
protect the interests of the United States and consistent with Section 9, direct (i) the deletion of
specified items of Protected Information from documents to be made available to the the
Accused, Detailed Defense Counsel, or Civilian Defense Counsel; (ii) the substitution of a
portion or summary of the information for such Protected Information; or (iii) the substitution of
a statement of the relevant facts that the Protected Information would tend to prove. The
Prosecution's motion and any materials submitted in support thereof or in response thereto shall,
upon request of the Prosecution, be considered by the Presiding Officer ex parte, in camera, but

no Protected Information shall be admitted into evidence for consideration by the Commission if
not presented to Detailed Defense Counsel.

(c) Closure of Proceedings
The Presiding Officer may direct the closure of proceedings in accordance with Section 6(B)(3).
(d) Protected Information as Part of the Record of Trial

All exhibits admitted as evidence but containing Protected Information shall be sealed and
annexed to the record of trial. Additionally, any Protected Information not admitted as evidence
but reviewed in camera and subsequently withheld from the Defense over Defense objection
shall, with the associated motions and responses and any materials submitted in support thereof,
be sealed and annexed to the record of trial as additional exhibits. Such sealed material shall be
made available to reviewing authorities in closed proceedings.

E. Proceedings During Trial

The proceedings at each trial will be conducted substantially as follows, unless modified by the
Presiding Officer to suit the particular circumstances:

(1) Each charge will be read, or its substance communicated, in the presence of
the Accused and the Commission.

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(2) The Presiding Officer shall ask each Accused whether the Accused pleads
"Guilty" or "Not Guilty." Should the Accused refuse to enter a plea, the
Presiding Officer shall enter a plea of "Not Guilty” on the Accused's behalf. If
the plea to an offense is "Guilty," the Presiding Officer shall enter a finding of
Guilty on that offense after conducting sufficient inquiry to form an opinion that
the plea is voluntary and informed. Any plea of Guilty that is not determined to
be voluntary and informed shall be changed to a plea of Not Guilty. Plea
proceedings shall then continue as to the remaining charges. Ifa plea of "Guilty"
is made on all charges, the Commission shall proceed to sentencing proceedings;
if not, the Commission shall proceed to trial as to the charges for which a "Not
Guilty" plea has been entered.

(3) The Prosecution shall make its opening statement.

(4) The witnesses and other evidence for the Prosecution shall be heard or
received.

(5) The Defense may make an opening statement after the Prosecution's
opening statement or prior to presenting its case.

(6) The witnesses and other evidence for the Defense shall be heard or received.

(7) Thereafter, the Prosecution and the Defense may introduce evidence in
rebuttal and surrebuttal.

(8) The Prosecution shall present argument to the Commission. Defense
Counsel shall be permitted to present argument in response, and then the
Prosecution may reply in rebuttal.

(9) After the members of the Commission deliberate and vote on findings in
closed conference, the Presiding Officer shall announce the Commission's
findings in the presence of the Commission, the Prosecution, the Accused, and
Defense Counsel. The individual votes of the members of the Commission shall
not be disclosed.

(10) In the event a finding of Guilty is entered for an offense, the Prosecution and
the Defense may present information to aid the Commission in determining an
appropriate sentence. The Accused may testify and shall be subject to cross-
examination regarding any such testimony.

(11) The Prosecution and, thereafter, the Defense shall present argument to the
Commission regarding sentencing.

(12) After the members of the Commission deliberate and vote on a sentence in
closed conference, the Presiding Officer shall announce the Commission's
sentence in the presence of the Commission, the Prosecution, the Accused, and

Defense Counsel. The individual votes of the members of the Commission shall
not be disclosed.

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F. Voting

Members of the Commission shall deliberate and vote in closed conference. A Commission
member shall vote for a finding of Guilty as to an offense if and only if that member is
convinced beyond a reasonable doubt, based on the evidence admitted at trial, that the Accused
is guilty of the offense. An affirmative vote of two-thirds of the members is required for a
finding of Guilty. When appropriate, the Commission may adjust a charged offense by
exceptions and substitutions of language that do not substantially change the nature of the
offense or increase its seriousness, or it may vote to convict of a lesser-included offense. An
affirmative vote of two-thirds of the members is required to determine a sentence, except that a
sentence of death requires a unanimous, affirmative vote of all of the members. Votes on
findings and sentences shall be taken by secret, written ballot.

G. Sentence

Upon conviction of an Accused, the Commission shall impose a sentence that is appropriate to
the offense or offenses for which there was a finding of Guilty, which sentence may include
death, imprisonment for life or for any lesser term, payment of a fine or restitution, or such other
lawful punishment or condition of punishment as the Commission shall determine to be proper.
Only a Commission of seven members may sentence an Accused to death. A Commission may
(subject to rights of third parties) order confiscation of any property of a convicted Accused,

deprive that Accused of any stolen property, or order the delivery of such property to the United
States for disposition.

H. Post-Trial Procedures

(1) Record of Trial

Each Commission shall make a verbatim transcript of its proceedings, apart from all Commission
deliberations, and preserve all evidence admitted in the trial (including any sentencing
proceedings) of each case brought before it, which shall constitute the record of trial. The court
reporter shall prepare the official record of trial and submit it to the Presiding Officer for
authentication upon completion. The Presiding Officer shall transmit the authenticated record of
trial to the Appointing Authority. If the Secretary of Defense is serving as the Appointing
Authority, the record shall be transmitted to the Review Panel constituted under Section 6(H)(4).

(2) Finality of Findings and Sentence

A Commission finding as to a charge and any sentence of a Commission becomes final when the
President or, if designated by the President, the Secretary of Defense makes a final decision
thereon pursuant to Section 4(c)(8) of the President's Military Order and in accordance with
Section 6(H)(6) of this Order. An authenticated finding of Not Guilty as to a charge shall not be
changed to a finding of Guilty. Any sentence made final by action of the President or the
Secretary of Defense shall be carried out promptly. Adjudged confinement shall begin
immediately following the trial.

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(3) Review by the Appointing Authority

If the Secretary of Defense is not the Appointing Authority, the Appointing Authority shall
promptly perform an administrative review of the record of trial. If satisfied that the proceedings
of the Commission were administratively complete, the Appointing Authority shall transmit the
record of trial to the Review Panel constituted under Section 6(H)(4). If not so satisfied, the
Appointing Authority shall return the case for any necessary supplementary proceedings.

(4) Review Panel

The Secretary of Defense shall designate a Review Panel consisting of three Military Officers,
which may include civilians commissioned pursuant to reference (e). At least one member of
each Review Panel shall have experience as a judge. The Review Panel shall review the record
of trial and, in its discretion, any written submissions from the Prosecution and the Defense and
shall deliberate in closed conference. The Review Panel shall disregard any variance from
procedures specified in this Order or elsewhere that would not materially have affected the
outcome of the trial before the Commission. Within thirty days after receipt of the record of
trial, the Review Panel shall either (a) forward the case to the Secretary of Defense with a
recommendation as to disposition, or (b) return the case to the Appointing Authority for further
proceedings, provided that a majority of the Review Panel has formed a definite and firm
conviction that a material error of law occurred.

(5) Review by the Secretary of Defense

The Secretary of Defense shall review the record of trial and the recommendation of the Review
Panel and either return the case for further proceedings or, unless making the final decision
pursuant to a Presidential designation under Section 4(c)(8) of the President's Military Order,
forward it to the President with a recommendation as to disposition.

(6) Final Decision

After review by the Secretary of Defense, the record of trial and all recommendations will be
forwarded to the President for review and final decision (unless the President has designated the
Secretary of Defense to perform this function). If the President has so designated the Secretary
of Defense, the Secretary may approve or disapprove findings or change a finding of Guilty to a
finding of Guilty to a lesser-included offense, or mitigate, commute, defer, or suspend the
sentence imposed or any portion thereof. If the Secretary of Defense is authorized to render the
final decision, the review of the Secretary of Defense under Section 6(H)(5) shall constitute the
final decision.

7, REGULATIONS
A. Supplementary Regulations and Instructions

The Appointing Authority shall, subject to approval of the General Counsel of the Department of
Defense if the Appointing Authority is not the Secretary of Defense, publish such further

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regulations consistent with the President's Military Order and this Order as are necessary or
appropriate for the conduct of proceedings by Commissions under the President's Military
Order. The General Counsel shall issue such instructions consistent with the President's
Military Order and this Order as the General Counsel deems necessary to facilitate the conduct
of proceedings by such Commissions, including those governing the establishment of
Commission-related offices and performance evaluation and reporting relationships.

B. Construction

In the event of any inconsistency between the President's Military Order and this Order,
including any supplementary regulations or instructions issued under Section 7(A), the
provisions of the President's Military Order shall govern. In the event of any inconsistency
between this Order and any regulations or instructions issued under Section 7(A), the provisions
of this Order shall govern.

Ss. AUTHORITY

Nothing in this Order shall be construed to limit in any way the authority of the President as
Commander in Chief of the Armed Forces or the power of the President to grant reprieves and
pardons. Nothing in this Order shall affect the authority to constitute military commissions for a
purpose not governed by the President's Military Order.

9. PROTECTION OF STATE SECRETS

Nothing in this Order shall be construed to authorize disclosure of state secrets to any person not
authorized to receive them.

10. OTHER

This Order is not intended to and does not create any right, benefit, or privilege, substantive or
procedural, enforceable by any party, against the United States, its departments, agencies, or
other entities, its officers or employees, or any other person. No provision in this Order shall be
construed to be a requirement of the United States Constitution. Section and subsection captions
in this document are for convenience only and shall not be used in construing the requirements of
this Order. Failure to meet a time period specified in this Order, or supplementary regulations or
instructions issued under Section 7(A), shall not create a right to relief for the Accused or any
other person. Reference (f) shall not apply to this Order or any supplementary regulations or
instructions issued under Section 7(A).

li. AMENDMENT

The Secretary of Defense may amend this Order from time to time.

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12. DELEGATION

The authority of the Secretary of Defense to make requests for assistance under Section 5 of the
President's Military Order is delegated to the General Counsel of the Department of Defense.
The Executive Secretary of the Department of Defense shall provide such assistance to the
General Counsel as the General Counsel determines necessary for this purpose.

13. EFFECTIVE DATE

This Order is effective immediately.

Donald H. Rumsfe
Secretary of Defense

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